   Case 20-42257        Doc 135-1 Filed 08/13/21 Entered 08/13/21 09:13:40                Desc
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                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

IN RE:                                           §
                                                 §
FRISCO ACQUISITION, LLC,                         §           CASE NO. 20-42257-btr
                                                 §           Chapter 7
        Debtor.                                  §

        ORDER GRANTING DEBTOR’S MOTION TO STRIKE MOVANTS’
    SUPPLEMENTAL AUTHORITIES IN SUPPORT OF AMENDED MOTION FOR
       RELIEF FROM STAY TO PURSUE NON-BANKRUPTCY LITIGATION

        ON THIS DATE the Court considered the Debtor’s Motion to Strike Movants’
Supplemental Authorities in Support of Amended Motion for Relief from Automatic Stay to
Pursue Non-Bankruptcy Litigation and the Court having reviewed the Motion and having heard
the evidence and arguments at the hearing, finds good cause for entry of the following Order. It is,
therefore
        ORDERED that the “Supplemental Authorities in Support of Amended Motion for Relief
from Automatic Stay to Pursue Non-Bankruptcy Litigation” (Doc. No. 134, the “New Brief”) filed
by WPB Hospitality, LLC (“WPB”) and Wanda Bertoia (“Bertoia”) is stricken from the record.
WPB and Bertoia are prohibited from raising any of the authorities, arguments or other material
contained in the New Brief at the hearing on Amended Motion for Relief from Automatic Stay to
Pursue Non-Bankruptcy Litigation scheduled for August 13, 2021.
        SIGNED:




Submitted by:
Joyce W. Lindauer
State Bar No. 21555700
Joyce W. Lindauer Attorney, PLLC
1412 Main St., Suite 500
Dallas, Texas 75202
Telephone: (972) 503-4033
Facsimile: (972) 503-4034
Email: joyce@joycelindauer.com
ATTORNEYS FOR DEBTOR
